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                                                                                 RICARDO SOLANO JR.
                                                                                     rsolano@fklaw.com
                                                                                           212.833.1121

                                                                                     January 12, 2021
                                          The parties' request is GRANTED. This matter is stayed until March 12,
                                          2021. If the parties do not file a stipulation of dismissal by that date, they
                                          are directed to file a joint status letter with the Court.
BY ECF
                                          The Initial Pretrial Conference scheduled for February 4, 2021, at 11:00
The Honorable John P. Cronan              a.m. is hereby adjourned sine die.
United States District Judge
Southern District of New York             SO ORDERED.
500 Pearl Street                          Date: January 12, 2021           ___________________________
New York, NY 10007                              New York, New York
                                                                           JOHN P. CRONAN
                                                                           United States District Judge
               Re: Jaquez v. Outschool, Inc., 1:20-cv-09288-JPC

Dear Judge Cronan:

                 This firm represents defendant Outschool, Inc. in the above-referenced matter.
We write to inform the Court that the parties have reached an agreement in principle that
resolves the litigation in its entirety and eliminates the need for further pleadings or motion
practice. The parties are preparing a settlement agreement; upon execution of that agreement
and the performance of certain actions immediately required thereunder, the parties will file a
stipulation of dismissal of the action with prejudice. To that end, we respectfully request that
this matter be stayed for 60 days to afford the parties the necessary time to accomplish these
objectives.

               Thank you for your attention to this matter. For the Court’s convenience, if
this request meets with your approval, I have included a “So Ordered” signature line below.
If Your Honor would prefer a formal proposed order setting forth the extension, please let me
know and we will submit one immediately.



                                              Respectfully submitted,

                                              s/ Ricardo Solano Jr.
                                              Ricardo Solano Jr.


cc:   All Counsel via ECF




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                                 -2-                      January 12, 2021


SO ORDERED:                              DATED: January   , 2021




Hon. John P. Cronan, U.S.D.J.




                                                                      3564759.1
